The offense is conspiracy to commit the offense of swindling; the punishment, confinement in the penitentiary for three years.
The companion case of Baker v. State is found reported in 72 South Western, Second Series, at page 296.
The facts adduced upon the trial in the present case were substantially the same as those set forth in the opinion in Baker v. State, supra.
The averments in the indictments in the present case and the companion case are substantially the same. Suffice it to say we held that the indictment in the companion case sufficiently charged the offense, and affirmed the judgment of conviction.
The judgment is affirmed.
Affirmed.
The foregoing opinion of the Commission of Appeals has been examined by the Judges of the Court of Criminal Appeals and approved by the Court.
                    ON MOTION FOR REHEARING.